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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   BOARD OF TRUSTEES OF THE UNIVERSITY OF
   ARKANSAS, A BODY POLITIC AND CORPORATE,
                                                               Civil Action No.: 1:20-cv-03837
           Plaintiff,
                                                               Judge Manish S. Shah
   v.
                                                               Magistrate Judge Jeffrey I. Cummings
   THE PARTNERSHIPS AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                DEFENDANT
               263                           DoreenBeads Choker Store
               264                            DoreenBeads Yiwu Store
               262                           Doreen Box Official Store
               378                                   Chik yx


DATED: August 14, 2020                               Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     111 West Jackson Boulevard, Suite 1700
                                                     Chicago, Illinois 60604
                                                     Telephone: 312-675-6079
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-03837 Document #: 31 Filed: 08/14/20 Page 2 of 2 PageID #:5937




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 14, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
